40 F.3d 1244
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank M. NEFF, Petitioner Appellant,v.STATE of Maryland;  Talbot County, Maryland;  Easton,Maryland Police Department;  Social Service,Respondents Appellees.
    No. 94-6427.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 26, 1994.Decided Nov. 2, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M. J. Garbis, District Judge.  (CA-94-655-MJG).
      Frank M. Neff, Appellant Pro Se.
      D.Md.
      DISMISSED.
      Before ERVIN, Chief Judge, and WILKINSON and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Frank Neff appeals from the district court's order signed March 24, 1994, and entered March 28, 1994, denying relief under 28 U.S.C. Sec. 2254 (1988).  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Although warned by this Court of his failure to sign his notice of appeal, Neff failed to amend his notice of appeal.  The unsigned notice of appeal did not confer jurisdiction on this Court.   Covington v. Allsbrook, 636 F.2d 63 (4th Cir.1980), cert. denied, 451 U.S. 914 (1981).  Moreover, the thirty-day appeal period prescribed by Fed.  R.App. P. 4(a)(1), and the additional thirty-day period prescribed by Fed.  R.App. P. 4(a)(5) for seeking an extension of the filing period, have both expired.*  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal for lack of jurisdiction.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    
      
        *
         Even if Neff's signed docketing statement filed on May 27, 1994, were construed as a notice of appeal (See Smith v. Barry, 60 U.S.L.W. 4065 (U.S.1992)), it was not timely under Fed.  R.App. P. 4(a)(1)
      
    
    